Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Pagel of 45

    
  

Fill in this Information to identify your case:

 
         
     
   

United States Bankruptcy Court for the:

_____ District of LALOR ADO

Case number (f known): Chapter you are filing under:
hapter 7
Chapter 17
O) Chapter 12
Chapter 13
1-8-+E O4

   

of
ry Ad Check if this is an

TP funy Lessee :
ey I popinended filing

Official Form 10%
Voluntary Petition for Individuals Filing for Bankruptcy 1247

The bankruptcy forms use yeu and Debtor 7 to refer to a debtor fillng alone. A married couple may file a bankruptcy case together—caliled a
Joint case—and in joint cases, these forms use yeu to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the anewer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor f and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possibte. If two married people are filing together, both are equally responsibie for supplying correct
information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number
(if Known). Answer every question.

a Identify Yourself

1. Your full name

 

 
    
     
  
   

Write the name that is on your MAJ C. j zs A908
government-issued picture

govemme i r
identification (for example, First name

your driver's license or BWV

passport). Middfe name

Bring your picture CALE DUE

identification to your meeting Last name

: Middis name |

e Last name

 

 

 

 

 

 

 

 

with the trustee.
Suffix (Sr. Jr, 1B UD Suffix (Sr. Je, if, 1)
|
i
2. All other names you \y a
have used in the last 8 Firstname” : Firstname
years i. .
Include your married or Middle name ~ Middle name :
maiden names. f- “& VL-
Lastname —~  * > Last name ~~
First name First name
Middle name Middie name ~~
Last name Last name

 

RET AER,

3. Only the fast 4 digits of ‘ / /
your Social Security XXX XK = O. oO
number or federal OR
Individual Taxpayer

Identification number 9x - xm -
(ITIN}

 

 

Official Form 101 Voluntary Petition for lndividuals Filing for Bankruptcy page 4
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page2 of 45

Debtor 1

 

Case number (7 knoar}

 

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

 

LJ } have not used any business names or EINs.

() j have not used any business names or EINs.

 

 

Uw NY
siness name Business name
Business name Business name
VO NALS /
EIN nnn EN OOOO
EN ENO

 

5. Where you live

YO Coy Ssh

 

ae

Jf Debtor 2 lives at a different address:

 

 

 

 

ewer (0 CHS

State ZIP Code City Siate ZIP Code
“LAN vera
County Coun

If your mailing address is different from the one
above, fitl itn here, Note that the court will send
any notices to you at this mailing address.

If Debtor 2's mailing address ts different from
yours, fill it In here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

this district to file for
bankruptcy

Official Form 101

i
i Number Street Number Street
}
P.O. Box P.O. Box
City State ZIP Code City State ZIP Code
6. Why you are choosing Chepk one: Check one:

Over the last 180 days before filing this petition,
1 have lived in this district longer than in any
ather district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Patition far Individuals Filing for Bankruptcy

L) over the last 180 days before fiting this petition,
| have lived in this district longer than in any
other district.

] Ehave another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

page 2
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page3 of 45

cor SO Qyyonl Casto \\ case number en

First Mame “Hiids'a iene “tast Name

 

 

ae Tell the Court About Your Bankruptcy Case

: |

7. The chapter of the Gheck one. (For a brief description of each, see Nolice Required by 11 U.S.C. § 342(b} for individuals Filing '

! Bankruptcy Cade you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

; are choosing to file
under Chapter 7

(] Chapter 11
(J) Chapter 12
C) Chapter 13

 

 

REED TEE § OH PPA Ma ee > ams wer OEE Seer ee

 

8, How you will pay the fee (11 will pay the entire fee when | file my petition. Please check with the clerk's office in your |
local court for more details about how you may pay. Typically, if you are paying the fee '
! yourself, you may pay with cash, cashier's check, or money order. if your attorney is

‘ submitting your payment on your behaif, your attorney may pay with a credit card or check
with a pre-printed address. :

i CJ | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in installments (Official Form 103A).

‘ request that my fee be waived (You may request this option only if you are filing for Chapter 7. ;
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is :
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fil out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petiticn.

i
}
‘
I

 

‘9. Have you filed for no
+ bankruptey within the
‘ last & years? C] Yes. District When Case number i
' MM/ DDIYYYY

District When Case nuntber
MM/ DDO/YYYY

 

 

 

 

 

 

 

 

 

 

! District When Case number
MM/ DDFYYYY :
bee teeter _— _~ wa ~
; 19. Are any bankruptcy No i
! gases pending or being ‘
: filed by a spouse who is Ll Yes, Debtor Relationshiptoyou —
: not filing this case with District When Case number, if known }
! you, er by a business MM/DD /YYYY :
| partner, or by an :
: affiliate? i
Debtor Relationship fo you __ i
District When Case number, if knovm i
MM /DD/YYYY
1 ti, Do you rent your 0. Gotoline 12. :
' residence? ] Yes. Has your landlord obtained an eviction judgment against you? !

i L] No. Go to tine 12.

CQ Yes. Fill out initia! Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

cee ee ee ee et et ee ee ee ne ee et eae ce ee te ee

Official Forn 104 Voluntary Petition for Individuals Filing for Bankruptcy : page 3
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page4 of 45

Debtor 1

First e

hidsie Naefe

0 \ Case number (#kronn),

Last ia

 

| Part 3: Report About Any Businesses You Own as a Sole Proprietor

i .
; 12, Are you a sole proprietor

‘
'
1
'
4

of any full- or part-time
business?

Asole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation; partnership, or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

i3. Are you filing under

Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of sma

business debtor, see
41 U.S.C. § 101{51D).

No. Go to Part 4.

QQ) Yes. Name and location of business

 

Name of business, if any

 

Number Streat

 

 

City State ZIP Code

Check the appropriate box to describe your business:

C) Health Care Business (as defined in 11 U.S.C. § 104(27A)}
C1 Single Asset Real Estate (as defined in 14 U.S.C. § 101(51B))
LL} Stockbroker (as defined in 11 U.S.C. § 101(53A)}

(4 Commodity Broker (as defined in 11 U.S.C. § 101(8)}

L} None of the above

if you are filing under Chapter 11, the court must know whether you are a smail busines. deblor so that il
can set appropriate deadiines. If you indicate that you are a smail business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum or if
any of these documents do not exist, follow the procedure in 11 U.S.C, § 1146(1)(B).

No. iam not filing under Chapter 11.

L) No. | am filing under Chapter 11, but lam NOT a small business debtor according to the definition in

the Bankruptcy Code.

O) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the

Bankruptcy Code.

Part Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

1

 

: 14. Do you own or have any

property that poses or is
alleged to pose a threat
of imminent and

’ identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
Far example, do you owa
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

es. Whatis the hazard?

 

 

immediate attention is needed, why is it needed?

 

 

Where js the property?

 

Number Street

 

 

City State

ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy page 4
1. Tell the court whether

}
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i
i
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1

t

Debtor 1 \oWW Ayyee (at (e \

Part 5:

Official Form 101

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2

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (var)

 

you have received a
briefing about credit

You must check one:

counseling. 1 received a briefing from an approved credit
. counseling agency within the 180 days before |
The law requires that you filed this bankruptcy petition, and | received a

receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CJ I received a briefing from an approved credit
counseling agency within the 180 days before 1

certificate of completion.
If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

you MUST file a copy of the certificate and payment
plan, if any.

(1 | certify that | asked for credit counsellag
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 20-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptey, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptey.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If your do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) fam not required to receive a briefing about
credit counseling because of:

C] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
te be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L} Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

fled this bankruptcy petition, but Edo not have a *

Within 14 days after you file this bankruptcy petition,

Voluntary Petition for Individuals Fitlng for Bankruptcy

You must check one:

C1] I reseived a briefing trom an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and [ recelved a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J) | received a briefing from an approved credit
counseling agency within the 180 days before |
tiled this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptey, and what exigent circumstances
Fequired you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court fs satisfied with your reasons, you must
still receive a briefing within 30 days after you fite.
You must file a certificate from the approved
agency, along wilh a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ 1am not required to receive a briefing about
credit counseling because of:

C) incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
ratio val decisions about finances.

C] Disabllity. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

0 Active duty. | am currently on active military
duty ina military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

 

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t

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‘

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Debtor 4 J on

First Mame

46. What kind of debts do

you have?

yer

Answer These Questions fer Reporting Purposes

(eto \

last Mame

Case number {7ke0an)

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, farnily, or househofd purpose.”

LL] No. Go to line 16b.
Yes. Go io line 17.

1éb. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CL] No. Go to line 46.
L] Yes. Go to line 17.

18c. State the type of debts you owe that are not consumer debts or business debts.

 

 

‘417. Are you filing under

Chapter 7?

Do you estimate that after
any exempt property is
excluded and

CL) No. | am not filing under Chapter 7. Go to line 18.

Yes. lam filing under Chapter 7, Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses No
‘ are paid that funds will be Yes ;
: available for distribution
/ to unsecured creditors?
a .
‘18, How many creditors do 1-49 Q) 7,000-5,000 (J 25,001-50,000 i
; you estimate that you L) 50-99 L] §,001-10,000 (J 50,001-160,000
1 owe? Q 100.199 OQ) 10,004-25,000 (2 More than 100,000
C) 200-999
: 19, How much do you $0-$50,000 C) $1,000,001-$10 million (3 $506,000,001-$1 billion ;
/ estimate your assets to $50,001-$100,000 () $10,000,001-$50 million ( $4,000,000,001-$10 billion

be worth?

aE

20. How much do you

estimate your liabilities
to be?

Sign Below

{
,
+
1
t

For you

LJ $100,001-$500,000
L) $500,001-$1 million

C] $0-$50,000
$50,001-$100,000

C) $100,001-$500,000

LJ $500,001-$1 million

() $50,000,001-$100 million
() $100,000,001-$500 million

C] $1,000,001-$10 million

(.) $10,000,004-$50 million
LJ $50,000,001-$100 million
L) $100,000,001-$500 million

1) $10,000,000,001-$50 billion
LL) More than $50 billion

O $506,000,001-$1 billion

L) $4,000,000,001-$16 billion
L) $10,000,000,001 -$50 billion
C More than $50 billion

|} have examined this petition, and | declare under penalty of pesjury that the information provided is true and

correct.

If] have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of litle 11, United States Code. | understand the relief available under each chapter, and { choose to proceed

under Chapter 7.

If no altorney represents me and | did not pay or agree to pay someone who is not an alorney to help me fill out
this document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 17, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
can rgsult in fines up to $250,000, or imprisonment for up to 20 years, or both.
35/1.

with a bankruptcy o:
1341, 1549,

  

x

 

Signature of heft

 

Signature of Debtor 2

F
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r

go
Executed on 7 ib

1 MM? DD /YYYY

See LEAS SEES ae LS SOY

Execuledon
MM/ DD /fYYYY

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RESCUE RS RL

 

 

ME a eee SST =

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor 4
First flame

dip) — (gutol

 

Miele Na

 

Case number (a knonn),
labtiane t

 

 

SST AT Rt a Bae

For you if you are filing this

: bankruptcy without an

attorney

‘If you are represented by
' an attorney, you do not
: need to file this page.

i
'

 

SEAN Ba ESET Sa EE NT GE LS CAR FL I PP REIT EIT TS PETA SMAI SB rel PNT SET

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, of cooperate with the court, case trustee, U.S. rustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list alf your property and debts in the schedules that you are required to file with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the proper.y. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not freat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed, You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CQ) No

Res

Are you avare that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

1] No

es

oO

LJ Yes. Name of Person :
Attach Bankruptcy Petition Preparer’s Notice, Decfaration, and Signature (Official Form 119).

PR you pay or agree to pay someone whe is not an attorney to help you fill out your bankruptcy forms?

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attomey may,cause me to lose my rights or property if { do not properly handle the case.

x / | k

 

 

Signalure offend” Signatura of Debtor 2
Date gs | 4 Date
MM 7 i MM/ BD SYYYY
Contact phone 440 WS ppl Contact phone

 

Cell phone ’ Cell phone

 

 

 

Emait address Dig ay ft D We I } cup ‘ WT ene address

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Official Form 104

Voluntary Petition for Individuals Filing for Bankruptey page &
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Pages of 45

 

 
  

UP POY ENIUR Certificate Number: 15725-CO-CC-030436277

POP CAL ORADE
15725

-CO-CC-030436277

 
 

CERTIFICATE OF COUNSELING

I CERTIFY that on January 16, 2018, at 12:35 o'clock PM EST, John Carroll
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. §
| 111 to provide credit counseling in the District of Colorado, an individual [or

 

 

group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet,

| Date: January 16, 2018 By: /s/Rafael Perez
Name: Rafael Perez

Title: Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy

Code are required to file with the United States Bankruptcy Court a completed certificate of

| counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the

credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

ee

(Ol !!_T TT

 

 

 

 

erated
pred:01/30/18 14:32:53 Page9 of 45

  

Fill in this information to identify the case:

Debtor 1 GUN TnI

Fret ame a pede Name Lat Nane

Debtor 2
(Spouse, @filng) frst Name NMidde Name Last Name

 

United States Bankruptcy Court for the: District of __{ vOLAOo

Case number
fli keoveen)

 

 

Official Form 423
Certification About a Financial Management Course 12/15

 

If you are an individual, you must take an approved course about personal financial management if:

— you filed for bankruptcy under chapter 7 or 13, oF
™ you filed for bankruptcy under chapter 11 and § 4141 (d)}(3) applies.

In a joint case, each debtor must take the course. 11 U.S.C. §§ 727{a)(44) and 1328(g).

After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course,
If the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must
each file this form with the certificate number before your debts will be discharged.

® lf you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under
§ 341 of the Bankruptcy Code.

B If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment thal your plan requires or
before you file a motion for a discharge under § 1141(d}(5}(B} or § 1328(b) of the Bankruptcy Code, Fed. R. Bankr. P. 1007(c).

In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a
motion with the court and obtain a court order.

Part Tell the Court About the Required Course

You must check one:

A | completed an approved course in personal fi 2b management:

Date | took the course go
i

Name of approved provider 0 \ webledce, Va

Certificate number } G { L5~ 0 ca CL 0Z0u Le Z1 17

Q) tamnot required to complete a course in personal financial management because the court has granted my motion for a
waiver of the requirement based on fcheck one):

(2 Incapacity. Ihave a mental iliness or a mental deficlency that makes me incapable of realizing or making rational decisions
about finances.

(] Disability. My physical disability causes me to be unabie to complete a course in personal financial management in person,
by phone, or through the internet, even after ] reasonably tried to do so.

O) Active duty, {am currently on active military duty Ina military combat zone.

O) Residence. | live ina district in which the United States trustee (or bankruptcy administrator) has determined that the

approved instructional courses cannot adequately meet my needs.
| pare 2: | Sign Here

 

 

I certify that the information | have provided is trie and correct.
! /] bAs. Jolan laure (| onl 121M
i _ Signature « of 1 debtor Jafnksr6n © Lup Printed name of deblor ‘rash

Official Form 423 Gertification About a Financial Management Course
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page10 of 45

Fiil in this information to identify your case:

Debtor 4 ety yyy LAO LI

eddie Mama i last Nane |
Debtor 2

(Spouse, if fling} rst Name Lidda Name Last Hane

United States Bankrupley Court for the: District of {oye

Case number
dF known)

 
 
 

 
 

  
        
 

   

 

 

 

(QQ Check if this is an
amended filing

 

Official Form 107

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy 046

Be as complete and accurate as possible. If tvo married peopte are filing together, both are equally responsible for supplying correct
information. If more space is needed, aftach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known), Answer every question.

Feat | Give Details About Your Marital Status and Where You Lived Before
{

M4 What is your current marital status?

: Married
C1 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

L) No
mM Yes. List all of the places you iived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

(] same as Debtor 1 UO) same as Debtor 1
/1)4 WtLeaesr From Zo) From
i Number" — Streat Number Street
; To jo) ] ; To
Seon! Cp 4
! L) same as Debtor 1 {] same as Debtor t

: D2 New lope rom Apr From

i Number Street Number Street

| CAE Apr. To ANY To
gin lo _ Sys

State ZIP Code City State ZIP Code

 

 

 

3. Within the last 8 years, did you ever tive with a spouse or legal equivalent in a community property state ar territory? (Community property
: Bio ierritories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin}
No

LJ] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 

ao ry Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4
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Debtor 1 _\oUN alow (ay ( oD \\ Case number {#kagan)

Last Name \

 

: 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
. Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

() Ne

ves Fill in the details.

From January 4 of current year until O pages, commissions, 3 0 Q pases. commissions, $
the date you filed for bankruptcy: HUSES, IIPS BUSES, HPS

Q Operaling a business CQ) Operating a business

For last calendar year: Q Wages, commissions, Q Wages, commissions,
. CAT bonuses, tips $ é tc bonuses, tips $
(January 1 to DecemberH1,_ “"S 45 Operaling a business L] operating a business

wy
C Wages issi CL) w. issi
lend : ges, commissions, ages, COmMmMsSions,
For the calendar year before that b bonuses, tips 5 QL or . ig bonuses, tips 5
(January 7 to December 31, Ze"; ) Cl operatinga business ~—————- O Operating a business

‘i 5. Did you receive any other income during this year or the two previous calendar years?

f Include income regardless of whether that income is taxable. Examples of offer income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only or.ce under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

LQ No
LJ Yes. Fill in the details.

 

From January 7 of current year until
the date you filed for bankruptcy: $

 

For last calendar year: Foal § S} yoo $

 

(January 4 to Decemiers1, Lf — tee § $e
$ $

Fer the calendar year before that: © ara) $5) u 2D $
\ ‘ t a

 

(January 1 to December 317 AY) b $ S$
fry —Keyesniy _

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
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Fret Name

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Case number gineany
LastName

| rare 3: | List Certain Payments You Made Before You Filed for Bankruptcy

 

Official Form 107

6, Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?

C] No. Go to line 7.

C] Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for damestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case,

* Subject to adjustment on 4/01/19 and every 3 years after thal for cases filed on or after the date of adjustment.

Yes, Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go fo line 7.

Yes, List below each creditor to whom you paid a total of $600 of more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and

alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditors Name

C] No. Neither Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptey, did you pay any creditor a total of $6,425* or more?

 

 

Number

Street

 

 

State ZIP Code

 

Creditors Name

Number

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Creditors Name

 

Number

Street

 

 

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State ZiP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

oO Morigage
1 car

1) credit card

1) Lean repayment

QO Suppliers or vendors

Q Other

Q Martgage
(0) car
LO credit card

2 toan repayment

Q) Suppliers or vendors

1) other

fd Mortgage
{) car
im Credit card

1 Loan repayment

Q Suppliers or vendors

C) other

page 3

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7. Within 4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners, relatives of any general partners; partnerships of which you are a g ‘neral partner;
corporations of which you are an officer, director, person in contro!, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

13 No
fe List al! payments to an insider.

 
     

 

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\Ag5 cout OP 44 huto

Number " streét

 

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State ZIP Code

 

insider's Name

 

Number Street

 

 

 

City State ZIP Code

 

 

a. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider? ,
Include payments on debts guaranteed or cosigned by an insider.

C) Ne

a Yes, List all payments that benefited an insider.

 

 

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insider's Name
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Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptey page 4
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Debtor 4 t ‘ow 10 N (Af(e \ \ Case number (d trown)

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Identify Legal Actions, Repossessions, and Foreclosures

 

 

: 9. Within 4 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
- List all such matters, including personal injury cases, small claims actions, divorces, vmeven suits, paternity actions, support or custody modifications,

: and contract disputes. uw CAB GOL A’ HEN EM wo.cl dgauneere)

1 Q \- yor lbeut Ile #2 “Sys lo

: vee Fill in the details. wor NO E wna he —|2 Se
Case title Walt Meee v ogee rower DIE PX pending

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Case number —— AVES \ ClAy\er At Sb \lo
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: Case number Ae (Ve Dalle
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' 40. Within 4 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

LL] No. Go to fine 11.

wes. Fill in the information betow.

  
  
 

 

 

 

 

 

 

 

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Creditors Name

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Azer was repossessed,

\ Property was foreclosed.

i eee M 55202. L} Property was garnished.

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Creditors Name

( Number Street

(3 Property was repossessed.

() Property was foreclosed.
we Bue TB Gade LJ Property was gamished.

C) Property was attached, seized, or levied.

Official Form 107 Statement of Financia! Affairs for Individuals Filing for Bankruptcy page 5
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ATTACHMENT “A”
Bankruptcy filing, answer to Part 4 - Form 107
9. Yes.

Case title: MATT HORNE V. JON B. CARROLL, SANTANNA KENNY MCCRAE
AND OTHER FICTITIOUS DEFENDANTS. AND CROSSCLAIM

Location: Barbour County Circuit Court, Alabama

Case number: CV-17-013

Nature of case:

A. Defendant interviewed a young woman on behalf of a small community newspaper

( The Henry County Report ) who accused the judge (Horne ) of coaching her statements
while he was a former prosecutor and admitted to committing perjury to assist the
prosecutor / judge (Horne) to obtain drug convictions on possession of marijuana while
acting as an informant in order to escape drug charges. The video was published on the
company’s web site with typical legal disclaimers. .

Defendant John Carroll at no time voiced, wrote his personal opinion or made a
statement. He, acting solely in the capacity of a journalist, operated the camera in a
professional manner and asked questions, Within the case there has been an additional
crossclaim by Santana McCrae’s attorney Ms Kirkland.

Judge Hore demanded a retraction and the newspaper removed the interview under legal
threat within the 10 day period allowed.

The law requires absolute malice be proven by the plaintiff to prevail. The co-defendant
(woman interviewed) has made the same admissions of perjury to the FBI and is in
documents filed in the court case.

I believe she was and is telling the truth.

B. Statements ( that Judge Horne intervened into the Louisville police department and
stopped pending investigations, one that related to young woman being repeatedly raped
by an acquaintance of his ) quoted by a law enforcement source were by the police chief (
Ronnie Benefield ) and the chief resigned in protest. Defendant John Carroll as a reserve
undercover investigator at the time in question. He (former police chief) has affirmed
this in a sworn affidavit to the U.S. Attorney, Alabama Judicial Inquiry Commission and
the F.B.1.
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hi

I believe now, as I did then, that former Police Chief Ronnie Benefield is beinz truthful,
the events witnessed are documented.
The law requires absolute malice be proved for Plaintiff to prevail.

Case title: KEITH CAUTHEN ET, AL V. JOHN CARROLL
Location: Dale County Circuit Court, Alabama
Case number: 26-CV-2016-900009,00

Nature of case: Defendant interviewed a young woman who is the sister of a murder
victim on an unsolved homicide (20 years old) on behalf of a small community
newspaper (The Henry County Report). The sister described how she was treated by the
police department over the years and questioned why it was still unsolved and requested
public assistance. The video was published on the company’s web site with typical legal
disclaimers.

Defendant at no time wrote or voiced his personal opinion. He operated the camera in a
professional manner and asked questions.

The law requires absolute malice be proved to prevail. The sister of the murdered young
lady made her statements on camera, on the record and has never recanted them.
I believe she was and is telling the truth.

Case title: MICHAEL MAGRINO V. JON B. CARROLL, HENRY COUNTY REPORT
Location: Henry County Circuit Court, Alabama
Case number: 2017-10

Nature of case: Defendant interviewed the former head of internal affairs for a police
department that had investigated the plaintiff who was forced to resign and had
recommended in writing that he be fired and charged. Documents were shared that
revealed complaints of drug planting by fellow officers and the details of the
investigation along with failed polygraph tests. Defendant further interviewed a former
city prosecutor who was aware and corroborated the internal affairs head statements
regarding drug planting cases.

Defendant at no time wrote or voiced his personal opinion. He operated the camera and
audio recording devices in a professional manner and asked questions. The law requires
absolute malice on behalf of the journalist to be proved to prevail.
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In this case documents given to him by former police officers and others were leaked
with personal information redacted regarding the plaintiff.

The current police chief and current head of internal affairs department affirmed the
documents are authentic.

In all three cases the community newspaper Henry County Reporter (Owned by the
Alabama Justice Project, a section 501 C3 corporation) is no longer operating and has
been offline for some years. The domain is owned and operated by a separate entity that
is not known to the defendant nor does he have the resources to ascertain ownership.

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S4a Name Ridteiame LastName

11, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off ny amounts from your

accounts or refuse to make a payment because you owed a debt?

No
(J ‘ves. Fill in the details.

 

Creditors Name

 

 

 

Number ‘Street

 

 

 

Chy Sate ZIP Code Last 4 digits of account number: XXXX-_____ __

42. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of

creditors, a court-appointed receiver, a custodian, or another official?

J No
UO Yes

Ea List Certain Gifts and Contributions

13. Within 2 years before you fited for bankruptcy, did you give any gifts with a total vaiue of more than $600 per person?

No
(2 Yes. Fill in the details for each gift.

 

 

 

Person to Whom You Gave the Gif

 

 

 

Number Street

 

Cay State ZIP Code

 

 

Person's relationship to you

 

  
   

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Person to Whom You Gave the Git

 

 

Number Street

 

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Person's relationship io you

 

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Firat Hame Wate Fame Last Name

 

 

14. Withip 2 years before you filed for bankruptcy, did you give any giits or contributions with a total value of more than $600 to any charity?

No
Yes. Fill in the details for each gift or contribution.

 

 

i Charity’s Name

 

iA

 

Number Street

 

3 Cay State dP Code

Go Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

QO bho

pres Fill in the details.
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List Certain Payments or oe

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behaif pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petilion preparers, or credit counseling agencies for services required in your bankruptey.

No
() Yes. Fillin the details.

 

Person Who Was Paid

 

Number Street

 

Cy State ZIP Code

 

Erneil or website addrass

 

Person Who Made the Payment, # Not You

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cor MN YON Cato ste

‘Fist Hane Maddie Fame LastName

 

 

 

 

 

 

Person Who Was Paid i

$
Number Street

$
Chy State ZIP Code

 

Email or website address

 

Peison Who Made the Payment, if Not You

 

 

17. Within 7 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deat with your creditors or to make payments to your crediiors?
Do not include any payment or transfer that you listed on line 16.

Ano

L} Yes. Fill in the details,

 

 

  

 

 

 

Person Who Was Paid [
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| | $
Number Street ;
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City State ZiPCoda 4

 

: 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, ofher than property
: transferred in the ordinary course of your business or financial affairs?

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

; Do not include gifts and transfers that you have already listed on this statement.

: No

CQ) Yes. Fill in the details.

 

 

 

 

 

i Person Who Received Transfer | :

i

i Number Street i
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Cay State ZIP Code i :

Person's relationship fo you

 

 

 

 

 

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} 1
: Person Who Received Transfer j $
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‘ Number Street : i
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: City State HIP Code oe ee A i }

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 8
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Bebtor 1 4 9 ql Puyo ‘ CK 2 \\ Case number (# known

Last Name ¥

49. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called assef-protection devices.)

B Ne
(J Yes. Fill in the details.

 

 

 

'
Name of trust . 1
i

 

a

List Certain Financlal Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

 

pupnt GAN

\94q Maw Aue

Humber Street

Savings

‘SA 4 ZEN
Name of Financial Institution wo LL 5h i _ WV $ tr :

Q Money market

 

 
   

{] Brokerage

A L-PING BANK Xxx} S ¥ Zz. ys Checking Zel l oT OY YT |

\044 Maw Ave C1 savings

Number Street Ci Money market

ote

CQ) Brokerage

Pica _o S0\ Bee, _§

21, Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

o
ae. Fill in the details. CO - :
you stl

 

 

 

 

Name of Financial institution

  
 

 

 

Humber Street Number Street

 

 

City State ZIP Code

 

City —~ State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuats Filing for Bankruptcy page 9
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Debior 1 on (hod (allo \ Case number {#knoan}

tatName * 7

22, as you stored property in a storage unit or place other than your home within 4 year before you filed for bankruptcy?
oO

LI Yes. Fill in the details.

   

 

Name of Storage Facllity Name

 

 

CityStale ZIP Code

 

|
Number Street Number Street i
t

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

No
Yes. Fill in the details.

 

 

Owner's Name

 

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Number Street : i
Number Street i
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City State ZIP Code

 

 

State ZIP Code

 

Glve Detalis About Environmental Information

 

i For the purpose of Part 10, the following definitions apply:

' & £nvironmental jaw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
i including statutes or regulations controfling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

& Hazardotis materfal means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

: No
i UY Yes. Fill in the detaits.

Dale of notice -

  

 

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! Name of site Gover mental unit

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; en ce ee
: Number Street Number Street

i City State ZiPGode

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i City State = ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 16
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cams ON Lyon) Catio\\ cnt

First Mame Lest Name

{ 25.Have you notified any governmental unit of any release of hazardous material?

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“Re
Yes. Fill in the details.

 

 

Nante of site Sovammental unit |

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Humber Street Number Street

 

City State ZIP Cade

 

_ ity State ZIP Code

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

YF no

C] Yes: Fill in fhe details.

 

 

 

 

 

 

}

i Case title i

Court Name i : CO) Pending

| ! | On appeal
Number Street : tl Concluded
: Case number City State ZIP Goede

Cau Give Details About Your Business or Connections to Any Business

i 27, Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
: O) asote proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

: Joka member of a limited liability company (LLC) or limited liability partnership (LLP}

C1 A partner in a partnership

2 An officer, director, or managing executive of a corporation

i

i

 

() An owner of at teast 6% of the voting or equity securities of a corporation

(J No. None of the above applies. Go to Part 12.
(J Yes, Check all that apply above and fill in the details below for each business.

CATON, Voit Ue

Business Name

Yo SonGSt.

Humber Street

C\welbon to Bias

oly _____ State. ZIP Code _

   
  

 

 

 

 

Business Name

 

Number Street

 

 

 

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Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11
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Debtor 1 yw oad N Caxo\\ Case number titknown)

Bade by, Last Name

 

Business Name

 

 

Number Street

 

 

From To

 

City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Pano '

CI Yes. Fill in the details below.

 

 

Name WATODIVYYY —

 

Number Street

 

 

City State ZIP Gode

Part 42: Sign Below

i have read the answers on this Sfafement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $260,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1344, 1619, and 3571.

x ML x

—_
Signature obgebtor 4 { Signature of Debtor 2

Date Date

Did you attach additional pages to Your Statement of Financtal Affairs for Individuals Filing for Bankruptcy (Otfcial Form 107}?
Xe
| as

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
GiNvo

U2 Yes, Name of person . Attach the Bankruptcy Petition Preparer's Notice, :
Declaration, and Signature (Official Form 119}. i

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fill in this information fo identify your case:

 

Debtor 2
(Spouse, if filing) Firstifame Midde Name Last Name

United Stafes Bankruptcy Court for the: District of ¢ Dvot_Kp 0

Case number
{If known}

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 42/15
Be as complete and accurate as possible. If tvo married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Ea Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)
ta. Copy line 55, Total real estate, from Sohedtle AUB oc ccsscssssessenseesnersesnerasecarerereseesvennssennssepseeertavsesueenenerrensearenns

1b. Copy line 62, Total personal property, from Schedtile AB ee ceecree reece

 

ic. Copy line 63, Total of all property on Schedule AB

| Part 2: | Summarize Your Liabilities

 

 

 

 

 

2. Schedule D: Credifors Who Have Claims Secured by Property (Official Form 106D) 2
2a, Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $s

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) ©
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule EA ccc esses neereteeee $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ccc cesses eesreeees +5 / Zz t, “hy - A
Your total liabilities $ [ZH tefl A

 

 

 

 

Ga Summarize Your Income and Expenses

4. Schedule i: Your income (Official Form 1061)

SSD °°
Copy your combined monthly income from line 12 of Schecisle 1... eseccceccecesceeceeeeeeeteeeeeeeceeeetaneoeseteceeseeeneeeteneedacesseuaeas $_“# ___
i
5. Schedule J: Your Expenses (Official Form 106J} f 00°"
Copy your monthly expenses from line 226 of Schedule J oo. cecccccceeseessencescscerscscessanseneeseeaeestenstaseesesanuesrissantaecauraassnanenes $

 

Official Form 106Sum Summary of Your Assets and Liabitities and Certain Statistical Information page 1 of 2

 
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Debtor 4 A) Cc Case number (@inoxn)
Fir: ie hiddie Fame laiName

| Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137?

CJ No. You have nothing io report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

REET ARLE PTT

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § £01(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

ESS SoR ESE ASG EPP ATE SED EAE SED SENT

Une ceEr = o REE?

 

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official

afl
Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $

 

 

 

OS ARTA ESTES. BIAS BOTAN ETA TTC EA AAA ER a CM RAT IG GET ALT BATE WAT AT

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

9a. Domestic support obligations (Copy line 6a.) $ oO
Sb. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ D

9d. Student loans. (Copy line Sf.) $ i | | gy

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ ?
priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ o

9g. Total. Add lines 9a through 9f. $ % le \’ ( 4

 

 

 

 

 

Official Form 106Sum = Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

ra re 2 PICT mean a ees SETAE ORR ATI TATA OM

 
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page27 of 45

    
     
         
    

 

Filf in this information to identify your case and this filing:

pew  JOHAS By;

  
  

  

 

 

Fret Hare TO'' bidde Hama wer East Heme .
a
Debtor 2 i am
(Spouse, if fling) First ame Ndde Name lastMame [F/S
United States Bankruptey Court forthe: District ot (DLORADY

Case number

 

LL] Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 12116

In each category, separately list and describe items, List an asset only once. If ai asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

i

| 1. Do you own or have any [egal or equitable interest in any residence, building, tand, or similar property?
A No. Go to Part 2. i
() Yes. Whore is the property? '

What is the property? Check all that apply.
} CL) Single-family home

i 14. 5 anit build?
i Street address, if available, or olher description U1 Duplex or muti-unit building

   

 

 

 

 

 

 

 

: OQ) Condominium or cooperative Current vatue ofthe Current value of the |
: (2 Manufactured or mobile home entire property? portion you own?
i UO Lane $ $ i
i O) investment property t
i - 0 timeshare Describe the nature of your ownership :
‘ City State ZIP Code O on interest (such as fee simpte, tenancy by =:
er the entireties, or a fife estate), ifknown.
' Who has an interest in the property? Check one. ;
} O) Debtor { only
County QO] Debtor 2 only

: (] debtor 1 and Debtor 2 only ui Check rile is community property :
CO Ai least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as focal
property identification number:

 

if you ovm cr have more than one, list here:
What is the property? Check ail that apply.
C) Single-family home

1.2. ‘a Duptex or multi-unit building

 

 

Street address, available, or other description

 

 

 

 

 

 

 

C) Condominium or cooperative Current value of the Current value of the |

QO) Manufactured or mobile ome entire property? portion you own?

(2 Land $ $
; C) tnvestment property | | ;
oy Siaie ZP Gade 2 Timeshare interest (such as fee simple, tenancy by

1) other the entireties, ora life estate), if known, |
i Who has an interest in the property? Check one. i
: Q1 Debtor 4 onty .
: County C) Debtor 2 only
: (2 Debtor 4 and Debtor 2 only () Check if this is community property
i Q) Atleast one of the debtors and another (see instructions)

} Other information you wish te add about this item, such as local
i property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page28 of 45

Debtor 4 J Q Case number (#zno0n},

Fret Hare Soag ame tar

What is the property? Check all that apply.
Q Single-family home

 

 

 

 

 

 

 

 

1.3.

i Street address, if available, or other description Ul Duplex or multi-unit building

i (1 Condominium or cooperalive Current value ofthe Gurrent value of the |
i entire property? ortion you own? |
: QO] Manutactured or mobile home proper'y P ¥ :
CO) tand $ §
i LI Investment property :
i iy Slate ZiPCode (1) Timeshare Describe the nature of your ownership i
i interest (such as fee simple, tenancy by i
QO other the entireties, or a life estate), if known.

Who has an interest in fhe property? Check one. :
i i
i = L] Debtor 1 only :
unty U1 Debtor 2 onty 5
(] Debtor 1 and Debtor 2 only | Check if this is community property '
‘ CI At least one of the debtors and another (see instructions) £
: Other information you wish to add about this item, such as lacat :

 

j property identification number:

 

i 2. Add the dollar vaiue of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...0.....cccccccccscceccoesecescensecececocecaseceneeus searsuussssuessansitssesecees >

 

 

 

 

   

Ee Describe Your Vehicles
i

Do you own, lease, or have tegal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Gars, vans, trucks, tractors, sport utility vehicles, motorcyctes

i Eine

      

 

 

 

 

 

 

 

 

   

 

 

instructions)

QO Yes
i 34. Make: Who has an interest in the property? Check one.

} Model: Q) Debtor 4 onty

' . C2 Debtor 2 only Sha Ra Bean we

Year: —_—-~ C1 Debtor 4 and Debtor 2 only carmen valu o7 the Current value of the
: Approximate milaage: C1 At teast one of the debtors and another prope p y 4
i Other information: i
OC Check if this is community property (see $ $ i
i instructions) :
i :
|
i if you own or have more than one, describe here:

i -. ;
: 32. Make: Whe has an interest in the property? Check one.

Model: (1 Debtor 4 only

} ¥ Q Debtor 2 only ree

i ear: !
! 1 oir on stor 2 on Curent val ofthe ure valu of he
: Approximate mileage: L At least one of the debtors and another . t
i Other information: :
} C) Check if this is community property (see § $ :

 

 

 

Cfficial Form 108A/8 Schedule A/B: Property page 2
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page29 of 45

 

Who has an interest in the property? Check one.

Debtor 1 Akal Calgon! Cate
Name “ene “tal farke
3.3. Make:
Mode: O) Deblor 4 only
CL Debtor 2 only
Year,

Approximate mileage:

Other information:

 

 

 

3.4. Make:
Model:

 

Year:

Approximate mileage:

Other information:

 

 

 

 

 

OC) Ne

Yes

4.1. Mako:
Model:

Year: te l b UV

* Other information:

  

 

 

 

 

4.2. Make:
Model:
Year:

Other information:

If you ovm or have more than one, list here:

 

 

 

 

 

Official Form 106A/B

LY Debtor 1 and Debtor 2 only
(1) At least one of the debfors and another

C] Check if this is community property (seo
instructions}

Who has an interest in the property? Check one.

(1 Debtor 4 only

QO Debtor 2 onty

(J Cabtor 1 and Debtor 2 only

C Atleast one of the debtors and another

O) Check if this is community property (see
instructions}

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Who has an interest in the property? Check one.

Ja Bobior 1 ony

Q) Debtor 2 only
C1 Debtor 1 and Debtor 2 only
(At least one of the debtors and another

U] cheek if this is community property (see
instructions}

Who has an interest in the property? Check one.
U Debtor 4 onty

Ql] Debtor 2 only

C) Debtor 1 and Debtor 2 only

( At ieast one of the debtors and another

(J Check if this is community property (oo
instructions)

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Schedule A/B: Property

Case number (Ftecan,

 

 

Current value of the :
portion youown? |

Current value of the
entire property?

 

Current value ofthe Current value of the i

entire property? portion you own?

 

Current value of the
entire property?

s 50

Current value of the !
portion youown? |

 

Current value ofthe Current value of the

entire property? portion you own?

$ $

 

page 3
Case:18-10596-

Debtor i
First Narra

co Describe You

    

CE Ne
7. Electronics

QO No
Yes. Describe,.....,

8. Collectibles of value

C] No
C] Yes. Describe..........

C) No

Ae. Describe..........

10. Firearms

2 No

11. Clothes

12. Jewelry

gold, silver

£1 No

LU Yes. Deseribe.........,

13.Non-farm animats

Q Wo
et’ Yes. Give specific

information. .............

15. Add the dollar value of

 

Official Form 1064/B

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

De ves, Describe... | Agape _cHel fh

Examples: Televisions and radios; audio, vkieo, stereo, and digital equipment; computers, printers, scanners: music
collections; electronic devices including cell phones, cameras, media players, games

 

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

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Case number (Finoany
Hame Last Mame

r Persona! and Household Items

 

 

[s 22g 07

 

 

$ eno?

CUE WA Ko

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis: canoes
and kayaks; carpentry tools; musical instruments

a ed

 

 

3

 

CAMEL Foy x {0% |s “op °

 

Examples: Pistols, rifles,

shotguns, ammunition, and related equipment

Bd Piston Revo . $02 !

 

 

Examples: Everyday clothes, furs, leather coats, designer weer, shoes, accessories

 

 

AGUAS ear vara pues pode 209

 

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

 

LS. Pale OFS jaa “f- ‘4 fleece + # $41)

 

 

 

Examples: Dogs, cats, birds, horses

Des Describe... _ A We joe e. d a on | s$_O)___

14. Any other personal and household items you did not already list, indiding any health aids you did not list

 

 

ee EatHiMe “ATO -WRACHIVE To DET —— aye = |

 

all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ..... seccscecssseseesssesanesssesess . . cececeeeetecceccssaneeeeee SD

: + AM FEL. log le

 

 

Schedule AJB: Property page 4
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page31 of 45

Debtor 1 JS OUWY
Fist tama

Midde Pame

Describe Your Financial Assets

Ryyon) a, AS 1 TO if Case number winrar),

    

: 16.Cash i
Examples: Money you have In your wallet, in your home, in a safe deposit box, and on hand when you file your petition

YO cnsnntneninntnninnnnnnnn CA tut tinnntinnneneirinsinne cash: SF? $ Y9 od !

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i
CO No i
i
MOS oocccccseeeeeee Institution name: :
[dO |
i71.chocking accom: — EADIAWD NOTOVAL. EXANE- 5 T7: |
17.2 Checking account: $ :
i
17.3. Savings account: % i
‘
17.4. Savings account: $ t
17.5. Certificates of deposit: $ f
17.8, Other financial account: $ i
:
17.7, Other financial account: $ ‘
i
17.8 Other financlal account: $ :
i
17.9. Other financtal account: $ {
| 18. Bonds, mutual funds, or publicly traded stocks :
Examples: Bond funds, invesiment accounts with brekerage firms, money market accounts :
No i
CO) Yes... Institution or issuer name:
% i
$
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in i
an LLG» partnership, and joint venture i
No Name of entity: % of ovmership: i
CO) Yes. Give specific 0% % $ ;
information about 0% i
thEM..s 2 % $ i
y :
0% % 5
i

Official Form 1Q6A/B Schedule A/B: Property page 5
i

 

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Debtor 4 US dtor lade o l | Case number (@tnean}

 

‘a Mame Last ane

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
ma instruments are those you cannot transfer to someone by signing or delivering them.

No

C] Yes. Give specific —_Issuer name:
information about
THOMA esses

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
§$
21. Retirement or pension accounts
Examples: interests in {RA, ERISA, Keogh, 401(k}, 403(b), thrift savings accounts, or other pension oF profit-sharing plans
XGie
O) Yes. List each
account separately. Type of account: Institution name:
404k) or similar plan: 3
Pension plan: $
IRA: $e
Retirement account: 3
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use froma company
Examptes: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telacommunications
companies, or others
No
OD Yes. Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water; $
Rented furniture: 3
Ofher: $
23. Annuities (A contract for a periodic paymant of money to you, cither for life or for a number of years)
No
OD Yes. cc cccceceen Issuer name and description:
3
$
$
Official Form 106A/B Schedule A/B: Property page 6

 

 

 
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page33 of 45

Debtor 1 DHA [Su Ad Cod (oO ) Case number (7 tncar.

irst Marra Midtea Hame Last Namo

24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

 

 

 

 

 

 

 

 

 

26 U.S.C. §§ 530(6)(1), 529A(b), and 529(b)(1}. ;

i

‘BYiNo

é

es Institution name and description. Separately file the records of any Interests.11 U.S.C. § 524{c): i

$
2 :
i !
i

‘

25. Trusts, equitable or future interests in property (other than anything listed in tine 1}, and rights or powers :
exercisable for your benefit :
Five he ey ;
U1 Yes. Give specific :
information about them... $ i

i 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property :
é f
Examples: internet domain names, websites, proceeds from royalties and licensing agreements i

4

Fane

(2 Yes. Give specific
information about them... $ i

I i

i

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licanses, professional licenses :

:
| Pe |
i Yes. Give specific i
information about them... $ t

 

 

 

28. Tay refunds owed fo you :
re
U Yes. Give specific information Federal: $
about them, including whether . :
you already filed the returns State: $ i
and the tax years. eee
Lacal:

 

 

29. Family support
Examples: Past dus or lump sum alimony, spousal support, child support, maintenance, divores settlement, proparty settlement

No
Q) Yes. Give specific information

 

 

 

Alimony: $
Maintenance: $
Support: $
Divorce seltlement: $
Property settlement: §.

 

3). Other amounts someone owes you
Examples: Unpaid wages, disability Insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid joans you made to someone else

O po

‘es. Give specific information............... LOALECTIVE BLS) Ce

44

iP Bows | 0100 |

 

 

 

Official Form 106A/B Schedule A/@: Property page 7
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53

Debtor 1 ltt Kyo Alle [ | Case number ¢ kngary,

Midcta Fi: tan Last Hame
: 31. Interests in insurance policies
Examples: Health, disability, or life insurance; hoalth savings account (HSA}; credit, homeovmers, or renter’s insurance

0

0 Yes. Name the insurance company

ww Company name: Beneficiary:
of each policy and fist ifs value. ...

 

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died,

Oo

Page34 of 45

Surrender or refund value:

 

C1 Yes. Give specific information.............. |

 

33, Glaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

LU No

I

 

Mires Describe each claim. .................... bum iw Fep cult avant Ma 4 o(we
34. Other contingent anc unliquidated elaine SE YY, SEP MAA ce aches makes debtor OE gr!

to set off claims
Ano

 

 

3 VA

L) Yes, Describe each claim occ [ — |
_ $

 

35. Any financial assets you did not already list

 

AA No

C1 Yes. Give specific information............

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here

 

 

 

 

 

Describe Any Business-Related Praperty You Own or Have an Interest In. List any real estate in Part 1.

 

 

37.Do you own or have any legal or equitable interest in any business-related property?
(2 No. Go to Part 6.

Yes. Go to line 38.

38. Accounts receivable or commissions you already earned
No
( Yes. Describa......

39. Office equipment, fumishings, and supplies
Examples: Business-teleted computers, sofware, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

Ne

 

SE

 

 

LI Yes. Describe... “

i A RN A A A oe

     

Official Form 106A/B Schedule A/B: Property

 

page §

i
}
i
:
t

 

 

Bet ttt
2
3

Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page35 of 45

Debtor 4 Ada By ow Here [ { Case number i inean,
Fethans Hameo LastName *

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

x No ae a renee aetna
C] Yes. Describe b ;

41. Inventory
C1 Ne : flan f —_ —
es. Desert 4tiek AND A few Ooxey OF WATT Yio | to:

Yes DeseT Ro | / Pao. AGL... MOULIN... ECA oe p_20> -

42. interests in partnerships or joint ventures

 

 

 

CU] Yes, Describe....... Name of eniity: % of ownership:
% $
% $
% $

 

No
C] Yes. Bo your lists include personally identifiable information {as defined in 11 U.S.C. § 104 (41A))?
C No
LI Yes. Describe........ |
$

“ee lists, mailing lists, or other compitations

 

 

 

 

eA asinesswelaied Property you did not already list

 

 

 

 

 

 

 

° :
Yes. Give specific t
information ......... 5 :
$ ‘
$ i
$
:
$
$
45. Add the dollar value of all of your entries from Part §, including any entries for pages you have attached $ oe
for Part 6. Write that mumber Mere occ csssessssesssecsecsscseeesssecssnsesssessonsssusessussssseetuenuusesunstecesauecenueseasessnasenetessariessnessaeseesees > 5 BOo

 

 

   

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you ows or fave an interest in farmland, jist it in Part 1.

 

46, Do. you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
io. Go to Part 7.
Cl Yes. Ge te line 47.

 

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

 

 

 

 

Official Form 106A/B Schedule AJB: Property page 9
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53

OUN

Debtor 1

Gael

 

Byyow

Case number (tiscan)

Page36 of 45

 

tama Last Name

: 48.Crops—elther growing or harvested

Sd.No

 

 

 

 

i ‘O Yes. Give specific

i information. ............

i ——=.

}

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

BODY 08 nent en ae tne

 

 

 

 

No

CJ Yes. Give speclfic
Information. ............

 

At and commercial fishing-related property you did not already jist

 

 

52. Add the dollar vatue of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here

 

 

 

 

 

   

Describe All Property You Own or Have an Interest in That You Did Not List Above

53, Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

‘1 No

LU] Yes. Give specific
information...

 

 

 

part: | List the Totals of Each Part of this Farm

55, Part 1: Total real estate, time 2... eects ceeeeeeeees

 

’

56.Part 2: Total vehicles, line §
57.Part 3: Total personal and household ifems, line 16
58. Part 4: Fotal financial assets, line 36

59. Part §: Total business-related property, tine 45

 

60. Part 6: Total farm- and fishing-related property, iine 52

}
i
i

? 61.Part 7: Total other property not listed, line 54

+s 0

 

 

 

63. Total of all property on Schedule A/B. Add fine 55 + lime G2... eee cseceeessecreeeseneeceureneseessensecsessiassneatssenenenensnaseas

 

Official Form 1064/B Schedule A/B: Property

pe
62. Total personal property. Add lines 56 through 41. .................... $ 4. Au , boovy personal property total > of $

: 54. Add the dollar value of all of your entries from Part 7. Write that number here 0 ecceccesecesesesesee aM | $f)

 

 

 

 
 
 

Debtor 7

io List All of Your NONPRIORITY Unsecured Claims

d:01/29/18 Entered:01/30/18 14:32:53 Page37 of 45

Case number (#snown),

 

3. Do any creditors have nonpriority unsecured claims against you

| elepcegine. HDS
“Det Covtuy lau Suto 20°

Number Street

_Lenenill fo_$00l4

ZIP Cade

Who incurred the debt? Check one.

ea Debtor 1 only

CI Debtor2 only
2 Debior 1 and Debtor 2 only
(J At least one of the debtors and another

CJ Check if this claim is for a community debt

1s the clair subject to offset?

a

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

?

Last 4 digits ofaccount number

When was the debt incurred? Ze i ]

As of the date you fite, the claim is: Check all that apply.

‘onlingent
Unliquidated
Disputed

Type of NONPRIORITY unsecured claim:

U1 student toans

CT obligations arising out of a separation agreement or divorce
{hat you did not report as priority claims

U) Debts to pension er profit-sharing plans, and other similar deb

JA otter. specity Atel eb as 42 de} | Saw )

 

2 |

 

 

 

 

Deli city AL BLE LT

State ZIP Code

Who incurred the debt? Check one.
pes Debtor 1 onty

Q Debtor 2 only

C1 pebtor 1 and Debtor 2 only

LJ At ieast one of the debtors and another

U Check if this claim is for a community debt

is the claim subject to offset?
C3 No
U Yes

 

Official Form 108E/F

4 WG ATH Last 4 digits of account number ZL: 10 Zz $ 452 oe

Nonprioiy Creditors Name When was the debt incurred? 4h

YS70 Ws WAul ob
Number Streat

Peo daal Sh <4 bes As of the date yau file, the claim is: Check ail that apply.
Cry State ZIP Code g Contingent
Who incurred the debt? Check one, U) unliquidated

Bk bowtor 1 only C1 Disputed
2 Debtor 2 only -
C3 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(J At least one of the debtors and another O) Student loans
u eee coe . L1 obligations arising out of a separation agreement or divorce
Check if this claim is for a community debt that you did not report as priority caims
Is the claim subject to offset? U0 Debts te pension or profit-sharing plans, and other simitar debts
U no C1 other. Specify
O Yes
Ka | ; [ oy Val pik Hevie Pld y é abit Last 4 digits of account number Ls SD
editor's Name | sh BIZ er
it L When was the debt incurred?
umber

eer Specify hie ans

Schedule E/F: Creditors Who Have Unsecured Claims

 

As of the date you file, the claim is: Check all that apply.

QO Contingent
1 untiquidated
LJ Disputed

Type of NONPRIORITY unsecured claim:

LJ Student leans

(1 obtigations arising out of a separation agreement or divorce
that you did not report as priority claims

(1 Debts to pension or profit-sharing plans, and other similar debts

 

page of __
 

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Dabtor 1 Alt IVY tt Case number t# ovr)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

  

City

A Debtor 7 only
Debtor 2 only

1 No
Cl Yes

    

Nonprorty Cr 's Name
Zl Votiay LO

7 } ‘] { H 2 G5 Dp As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

D) Debtor 4 and Debtor 2 only
C1 Ai least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

 
  
   

 

Last 4 digits of account number 4 uy 3 Oo 65:51
|

When was the debt incurred? “e l@-Zo] 7

State ZIP Code O Contingent
(J unliquidated
oO Disputed

Type of NONPRIORITY unsecured ctaim:

CE Student loans

(3 Obligations aiising out of a separation agreement or divorce that
you did not report as priority claims
C1 Debts to pension or profit-sharing pfans, and othar similar debts

Other. Specify MVEA —_

 

 

 

Number Street

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we
Last 4 digits of accountnumber $ / i” [S98 oe

 

UO) Debtor 4 only
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OM Zo/ As of the date you file, the claim is: Check alt that apply.
State == ZIP Code CI Contingent
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Who incurred the debt? Check one. 1 Disputed

©) Debtor 1 and Debtor 2 only
(} At least one of the debtors and another

CL) Check if this claim is for a community debt

Is the claim subject to offset?

Type of NONPRIORITY unsecured claim:

U) Student toans

L) Ohiigations arising out of a separation agreement or divorce {hat
you did not report as priority claims

O) debts to pension or profit-sharing plans, and other similar debts

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A/ Fane tit Last 4 digits ofaccountnumber 440

Norfpriorky Creditors Name

 

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As of the date you file, the claim is: Check all that apply.

 

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Official Form 1G6E/F

When was the debt incurred?
(GW [lose Uk Ci
Number Street K Ci C

Who jncurred the debt? Check one.
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Debtor 2 only

C1} Debtor 1 and Debtor 2 only
(CI At least one of the debtors and another

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ts the claim subject to offset?

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Soe] C1 uniiquidated
LI) Disputed

Type of NONPRIORITY unsecured claim:

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you did not report as priority claims
U Debts to pension or profit-sharing plans, and other similar debts

1 other. Specify pF DiZAat

 

Schedule E/F: Creditors Who Have Unsecured Claims page of
Case:18-10596-MER Doc#;1
Debtor 4

  

Case RUMBET Gf iosr

iled:01/29/18 Entered:01/30/18 14:32:53 Page39 of 45

 

 

 

 

 
 
 

  
 

Nonprionly Creditors Mame

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Nuriber Street *

Whe incurred the debt? Check one.
Rowen onty
Debtor 2 only

(2 bebter 4 and Debtor 2 only
() Ai least one of the debtors and another

We 2

      
    

(0 Check if this claim is for a community debt

Is the claim subject to offset?

O No
L) Yes

4 digits of account number

When was the debt incurred? VZA | oat \v

As of the date you file, the claim is: Check all that apply.

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C) Untiguidated
BRvenues

Type of NONPRIORITY unsecured ctaim:

(} Student loans

QO Objigalions arising out of a separation agreement ar divorce that
you did not report as priority claims

C) Debts fo pension or profit-sharing plans, and other sinilar debts

CJ Other. Specify é

 

 

 

 

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Who incurred the debt? Check one.

UO) Debtor 1 onty

() debtor 2 only

(] Debtor 4 and Debtor 2 only

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C) Gheck if this claim is for a community debt

Is the claim subject to offset?

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Last 4 digits of account number LE. op
When was the debt incurred? Z 20 i

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(2 uUntiquidated
O disputed

Type of NONPRIORITY unsecured claim:

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you did not report as priority claims

UO) Debts to pension or profit-sharing plans, and other similar debts

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Student loans

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Nonprionity Creditors Name

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Number * Steet

TA Lani (o

£\ S02

State ZIP-Code

Who incurred the debt? Check one.

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Debtor 2 onty
UL) Debtor 1 and Debtor 2 only
Cl) At feast one of the debtors and another

() Check if this clair is for a community debt

Is the claim subject to offset?

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Official Form 1O6E/F

Last 4 digits of account number ___

When was the debt incurred? 20. Zor)

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OC Untiquidated
L) Disputed

Type of NONPRIORITY unsecured claim:

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(2 obiigations arising out of a separalion agreement or divorce that
you did not report as priority claims

UO debts to pension or profit-sharing plans, and olher similar debis

Cl other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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page __of__
10596. MR, Do éH:01/29/18 Entered:01/30/18 14:32:53 Page4o of 45
Case:18-10595. MER, Dopti aie g

Debtor 7

Case number ( tron),

 

204 { Middle Name Last Name

   
 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

Last 4 digits ofaccountnumber

 

 
   

When was the debt incurred?

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CoA CEMENTD LA ASSIE As of the date you file, the claim is: Check ail that apply.
Ciy * State ZIP Code L) contingent
C) Untiguidated
a. the debt? Check one. C) Disputed
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C] Pebtor 1 and Debtor 2 only

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oO Obligations arising out of a separation agreement or divarce that
you did not report as priosity claims

OC) pebts to pension or profit-sharing plans, and other similar dabts

Is the claim subject to offset? jak Giher. Specify

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C) Yes

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oN Level Livk [TEL __ Last 4 digits of account number q q SZ. Ie A /h
"Dp oye nemo iye/ CAL EMA f When was the debt incurred? LE| b

ns wt fonver lo LOL As of the date you file, the claim is: Check all that apply.

     
 
 

 

City 4 \ State ZIP Code C2 contingent
; 4 \ C4 Untiquidated
Who incurred the debt? Check one. oO Disputed
Ph debtor 1 only
L] Debtor 2 only Type of NONPRIORITY unsecured claim:

3 Debtor 4 and Debtor 2 only

CI Student leans
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Q Obligations arising out of a separation agreement or divorce thal
you did not report as priority claims

EL] Debts to pension or profi bey ’ and ofher simifar debts

is the claim subject to offset? AD dither. Specify Lea:

OI Wo

Q) Yes

C1] Check if this claim is for a community debt

 

Last 4 digits of account number

 

 

 

Nonprorty Creditors Name
When was the debt incurred?
Number Street . oe
As of the date you file, the claim is: Check ail that apply.
Gy State ZIP Code (1 Contingent
; C) Unliquidated
Who incurred the debt? Check one. Q1 Disputed

LY Debtor 4 onty

(1 Debtor 2 only Type of NONPRIORITY unsecured claim:
©) Debter 4 and Debtor 2 only (0 Student loans

C1 At feast one of the debtors and another O Obligations arising cut of a separalion agreement or divorce that
you did not repart as prioiity claims

QO betts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? O) other. Specify

OQ No
O Yes

LI Check if this claim is fora community debt

 

 

 

Official Form 706E/F Schedule E/F: Creditors Who Have Unsecured Claims page of
 

 

Pebtor i

 

Lastttame

First Name hiddie Nana . . . .
seul O52 Wor? DoGiAyelpf:01/29/18 Entered:01/30/18 14:32:53 Page41 of 45

Add the Amounts for Each Type of Unsecured Claim

Case number ginoan)

 

6. Total the amounts of certain types of unsecured claims. This i

Add the amounts for each type of unsecured claim.

6f. Student loans

or divorce that you did not
claims
similar debts

Write that amount here.

§j. Total. Add lines 6f through 6i.

Official Form 106E/F

6a. Domestic support obligations

6g. Obligations arising out of a separation agreement

6h. Debts to pension or profit-sharing plans, and other

6b. Taxes and certain other debts you owe the

government Gb.
6c. Claims for death or personal injury while you were

intoxicated 6c.
6d. Other. Add all other priority unsecured claims.

Write that amount here. 8d.
6e. Total. Add lines 6a through Gd. 6e,

report as priority

8i. Other. Add all other nonpriority unsecured claims.

61.

gj.

 

 

 

 

 

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Schedule E/F: Creditors Who Have Unsecured Claims

nformation is for statistical reporting purposes only. 28 U.S.C. § 159.

page of
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page42 of 45

Fill in this information to identify your case:

 

Debtor 2
(Spouse if filing) First Name fiddle Name Last Mame

 

United States Bankruptcy Court for the: District of

Case numb
ifknoan) Q Check if this is an

amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space js needed, copy the additional page, fill if out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number {if known).

 

 

1. Do you have any executory contracts or unexpired leases?
Q) No. Check this box and file this form with the court with your olher schedules. You have nothing else to report on this form.
Yes. Fillin ail of the information below even if the contracts or leases are listed on Schedule AB: Property (Official Form 1G6A/8).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction bockiet for more examples of executory contracts and
unexpired leases.

 
       

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vy, Sor
Satie at VEPOSSEASTD.

State ZIP Code

 

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Name

 

 

Number Street

 

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Number Street

 

 

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1of_
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page43 of 45

Fill in this information to identify your case:

Debtor 1 Je RA {Syfe0 ni ‘a Pd eo LL

First Name Midde Name men © Cast Kame

Debtor 2
(Spouse, # filing) Fistitame MiddeName Last dame

United States Bankruptcy Courtforthe:__—=—s__sdDiistrrict of _ Coot

Case number Check if this is:
Of known) .
(] An amended filing

Lj A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106} RMT DT ay
Schedule I: Your Income 42115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not fiting with you, do not include information about your spouse. If more space is needed, attach a
separate sheet fo this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Co Describe Employment

\

it Fill in your employment
Information.
i
1
{

 

 

 

 

 

 

 

if you have more than one job,

altach a separate page with
information about additional Employment status Cl Employed QO} Employed

employers. fa Not employed UL) Not employed

Include part-time, seasonal, or

self-employed work. Occupation A eK Ate MV ipe

Occupation may include student

or homemaker, if if applies.

Employer's address le by iN ef
ber ‘Street Number Street

mi

Awd (0 LSS

City Slate ZIP Cie City Stale ZIP Code

How long employed there? Z ‘ , (129
ue Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any fine, write 30 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet fo this form.

 

 

 

 

 

 

 

 

 

2. List monthly gross wages, salary, and commissions (before all payroll
deductions}. If not paid monthiy, calculate what the monthly wage vould be.

3. Estimate and list monthly overtime pay.

 

 

4. Calculate gross income. Add line 2 + tine 3.

 

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1

 
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 Page44 of 45

Debtor 1 \o HA) me Yon ALO \ | Case number (¢inown),

Fest Name fe fane “lattiame N

  

   

 

 

 

 

 

 

 

 

 

“For Debtor 2.0
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{Copy fine 4 Mere... csecssssscccssecscsssssossccenvsssssecereccssesssseccssensssssesesssasassstenesseee $
4
5. List all payroll deductions:
i
| 5a. Tax, Medicare, and Social Security deductions Sa. § $
| Sb, Mandatory contributions for retirement plans Sb. §$ $
5c. Voluntary contributions for retirement plans So. $ $
| Sd. Required repayments of retirement fund loans Sd. § $
| 5e. Insurance Se. § $
‘ $f. Domestic support obligations Sf. § $
og. Union dues 5g. $
; Sh. Other deductions. Specify: Sh. +$ + $
6. Add the payroll deductions. Add lines 5a + Sb + 5c + 5d + 5e +5f + Sg+Sh. 6. $ $

 

OCS

7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $

 

8. List all other income requilarly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

 

 

 

 

 

receipts, ordinary and necessary business expenses, and the total $ 0 $
monthly net income. 8a,
&b. Interest and dividends 8b. § # $
8c. Family support payments that you, a non-filing spouse, or a dependent
i regularly receive
: Include aiimony, spousal support, child support, maintenance, divorce 5 AX) $
: seltlement, and property settlement, Be. é
8d. Unemployment compensation ed. §$ $
8e. Social Security Be. =§ $

 

8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental

 

j Nutrition Assistance Program) or housing subsidies. .
Specify: pA » Nui a s_ 1Sd $

 

 

 

 

 

 

 

 

 

 

 

 

 

; ‘ A)
| 8g. Pension or retirement income PAH ANCE 8g. $ oD $
| 8h, Other monthly income, Specify: 8h. +3 OO +
9. Add alt other income. Add fines 8a + 8b + 8c + 8d + Se + Bf +8g + Bh. 9. | $ Of ) $
; . . eh
/ 10, Calculate monthly income. Add line 7 + line 9. é SO + = Is °
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 1o.| © $ ™

14. State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Specify:

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies

 

 

13.Do you expect an increase or decrease within the year after you file this form?

LY No.

De not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J

W.+ $3 0 |

12, 5 S50 _|

Combined
monthly income

 

 

 

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Official Form 406! , Schedule 1: Your Income
Case:18-10596-MER Doc#:1 Filed:01/29/18 Entered:01/30/18 14:32:53 .P get of 45
\ [A

TO:

UNITED STATES BANKRUPTCY COURT
CUSTOM HOUSE

721 19TH STREET

DENVER, COLORADO 80202

FROM:

JOHN CARROLL

PO BOX 352
SILVERTON, COLORADO 81433

RE:

PLEASE ACCEPT THE ENCLOSED BANKRUPTCY FILING.

MY CONTACT:
JOHN CARROLL 970-708-0319
LOCATION:

TRANSIENT, CURRENTLY HOMELESS AND CAMPING ON WESTERN
SLOPE AND IN SHELTERS. MAIL ADDRES IN SILVERTON IS GOOD.

AVANY \ov,

(fer
